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                                                                                    FILED
                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA
                                                                                    SEP 29 2020
ROY A. DAY,                                            )                       Clerk, U.S. District & Bankruptcy
                                                       )                       Court for the District of Columbia
                       Plaintiff,                      )
                                                       )
v.                                                     )    Civil Action No. 1:20-cv-02397 (UNA)
                                                       )
DONALD J. TRUMP, et al.,                               )
                                                       )
                       Defendants.                     )

                                    MEMORANDUM OPINION

       This matter comes before the court on review of plaintiff’s application for leave to proceed

in forma pauperis (“IFP”) and pro se civil complaint. The court will grant the IFP application and

dismiss the complaint without prejudice for failure to comply with Fed. R. Civ. P. 8(a), and for

lack of subject matter jurisdiction, see Fed. R. Civ. P. 12(h)(3) (requiring the court to dismiss an

action “at any time” if it determines that the subject matter jurisdiction is wanting).

       Complaints filed by pro se litigants are held to less stringent standards than those applied

to formal pleadings drafted by lawyers. See Haines v. Kerner, 404 U.S. 519, 520 (1972). Even

pro se litigants, however, must comply with the Federal Rules of Civil Procedure. Jarrell v. Tisch,

656 F. Supp. 237, 239 (D.D.C. 1987). Rule 8(a) of the Federal Rules of Civil Procedure requires

that a complaint contain a short and plain statement of the grounds upon which the Court’s

jurisdiction depends, a short and plain statement of the claim showing that the pleader is entitled

to relief, and a demand for judgment for the relief the pleader seeks. Fed. R. Civ. P. 8(a). The

purpose of the minimum standard of Rule 8 is to give fair notice to the defendants of the claim

being asserted, sufficient to prepare a responsive answer, to prepare an adequate defense, and to
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determine whether the doctrine of res judicata applies. Brown v. Califano, 75 F.R.D. 497, 498

(D.D.C. 1977).

       Plaintiff, a resident of Tarpon Springs, Florida, sues the U.S. President and the U.S.

Secretary of Agriculture. He has filed a complaint contesting the validity of the contention that

wearing a mask or washing one’s hands is successful in preventing the contraction of COVID-19.

He argues instead that contraction occurs through the consumer “food chain,” and that food

vendors are ill-informed regarding where their “food items [have] been stored, or placed, or

used[.]” He alleges that the food manufacturers should be required to “sanitize” their products

more thoroughly, and that the lack of such requirement violates his right to due process and equal

protection. He seeks a declaratory judgment that defendants have violated his Fifth Amendment

rights, and requests that this Court order the mass return of food products to unnamed

manufacturers.

       First, plaintiff’s alleged harms appear to be “generalized grievances” purportedly “shared

in substantially equal measure by . . . large class of citizens[,]” and “that harm alone normally does

not warrant exercise of jurisdiction.” Warth v. Seldin, 422 U.S. 490, 499 (1975).

       Second, the ambiguous allegations composing the complaint fail to provide adequate notice

of any other viable claim pursuant to the standard set by Fed. R. Civ. P. 8(a). Despite relying on

the Fifth Amendment, none of plaintiff's allegations actually articulate the deprivation of a

protected right. “Events may not have unfolded as Plaintiff wished, but his dissatisfaction . . .

[does] not form a basis for a due process violation.” Melton v. District of Columbia, 85 F. Supp.

3d 183, 193 (D.D.C. 2015). Plaintiff also fails to allege a viable equal protection claim. He does

not identify “the ‘rights’ of which he was deprived or the other individual or individuals to whom

these rights were afforded. Nor does Plaintiff allege how [] other individuals were similarly
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situated, as he must in order to state a viable equal protection claim.” Id. “[F]ederal court

jurisdiction must affirmatively appear clearly and distinctly. The mere suggestion of a federal

question is not sufficient to establish the jurisdiction of federal courts.” Johnson v. Robinson, 576

F.3d 522, 522 (D.C. Cir. 2009) (citing Bilal v. Kaplan, 904 F.2d 14, 15 (8th Cir.1990) (per

curiam)). Consequently, there is no basis here to support a federal question.

       Therefore, this case will be dismissed. A separate order accompanies this memorandum

opinion.



                                                       _/s/______________________
                                                        RUDOLPH CONTRERAS
                                                        United States District Judge
Date: September 29, 2020
